Case 3:19-cv-01122-CAB-NLS Document 1 Filed 06/17/19 PageID.1 Page 1 of 7




 1     CENTER FOR DISABILITY ACCESS
       Phyl Grace, Esq., SBN 171771
 2     Russell Handy, Esq., SBN 195058
       Dennis Price, Esq., SBN 279082
 3     Mail: PO Box 262490
       San Diego, CA 92196-2490
 4     Delivery: 9845 Erma Road, Suite 300
       San Diego, CA 92131
 5     (858) 375-7385; (888) 422-5191 fax
       phylg@potterhandy.com
 6
 7
       Attorneys for Plaintiff

 8
 9                        UNITED STATES DISTRICT COURT
10                      SOUTHERN DISTRICT OF CALIFORNIA
11
       Scott Schutza,                         Case No. '19CV1122 BEN NLS
12
                 Plaintiff,
13                                            Complaint For Damages And
          v.                                  Injunctive Relief For Violations
14                                            Of: American’s With Disabilities
       Jozu Investments, LLC, a               Act; Unruh Civil Rights Act
15     California Limited Liability
       Company;
16     Alma Ramirez;
       Felipe Ramirez; and Does 1-10,
17
                 Defendants.
18
19
           Plaintiff Scott Schutza complains of Jozu Investments, LLC, a
20
     California Limited Liability Company; Alma Ramirez; Felipe Ramirez; and
21
     Does 1-10 (“Defendants”), and alleges as follows:
22
23
       PARTIES:
24
       1. Plaintiff is a California resident with physical disabilities. He is a
25
     paraplegic who cannot walk and who uses a wheelchair for mobility.
26
       2. Defendant Jozu Investments, LLC owned the real property located at
27
     or about 9470 Cuyamaca Street, Santee, California, in June 2019.
28


                                          1

     Complaint
Case 3:19-cv-01122-CAB-NLS Document 1 Filed 06/17/19 PageID.2 Page 2 of 7




 1     3. Defendant Jozu Investments, LLC owns the real property located at or
 2   about 9470 Cuyamaca Street, Santee, California, currently.
 3     4. Defendants Alma Ramirez and Felipe Ramirez owned Soriana’s
 4   Mexican Food located at or about 9470 Cuyamaca Street, Santee, California,
 5   in June 2019.
 6     5. Defendants Alma Ramirez and Felipe Ramirez owns Soriana’s
 7   Mexican Food (“Restaurant”) located at or about 9470 Cuyamaca Street,
 8   Santee, California, currently.
 9     6. Plaintiff does not know the true names of Defendants, their business
10   capacities, their ownership connection to the property and business, or their
11   relative responsibilities in causing the access violations herein complained of,
12   and alleges a joint venture and common enterprise by all such Defendants.
13   Plaintiff is informed and believes that each of the Defendants herein, including
14   Does 1 through 10, inclusive, is responsible in some capacity for the events
15   herein alleged, or is a necessary party for obtaining appropriate relief. Plaintiff
16   will seek leave to amend when the true names, capacities, connections, and
17   responsibilities of the Defendants and Does 1 through 10, inclusive, are
18   ascertained.
19
20     JURISDICTION & VENUE:
21     7. The Court has subject matter jurisdiction over the action pursuant to 28
22   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
23   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
24     8. Pursuant to supplemental jurisdiction, an attendant and related cause of
25   action, arising from the same nucleus of operative facts and arising out of the
26   same transactions, is also brought under California’s Unruh Civil Rights Act,
27   which act expressly incorporates the Americans with Disabilities Act.
28     9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is


                                             2

     Complaint
Case 3:19-cv-01122-CAB-NLS Document 1 Filed 06/17/19 PageID.3 Page 3 of 7




 1   founded on the fact that the real property which is the subject of this action is
 2   located in this district and that Plaintiff's cause of action arose in this district.
 3
 4       FACTUAL ALLEGATIONS:
 5       10. Plaintiff went to the Restaurant in June 2019 with the intention to avail
 6   himself of its goods and to assess the business for compliance with the
 7   disability access laws.
 8       11. The Restaurant is a facility open to the public, a place of public
 9   accommodation, and a business establishment.
10       12. Dining tables are one of the facilities, privileges, and advantages
11   offered by Defendants to patrons of the Restaurant.
12       13. Unfortunately, on the date of the plaintiff’s visit, the defendants did not
13   provide accessible dining tables in conformance with the ADA Standards.
14       14. Currently, the defendants do not provide accessible dining tables in
15   conformance with the ADA Standards.
16       15. Plaintiff personally encountered this barrier.
17       16. By failing to provide accessible facilities, the defendants denied the
18   plaintiff full and equal access.
19       17. The lack of accessible facilities created difficulty and discomfort for the
20   Plaintiff.
21       18. Restrooms are another one of the facilities, privileges, and advantages
22   offered by Defendants to patrons of the Restaurant.
23       19. Even though the plaintiff did not confront the barrier, the defendants do
24   not provide an accessible restroom in conformance with the ADA Standards.1
25       20. The defendants have failed to maintain in working and useable
26   conditions those features required to provide ready access to persons with
27
     1
      For example, the mirror in the restroom is mounted too high for wheelchair users to use. On information
28   and belief there are other issues with the restroom that renders it non-compliant. Those issues will be fleshed
     out in discovery and inspections. The plaintiff seeks to have an accessible restroom.


                                                           3

     Complaint
Case 3:19-cv-01122-CAB-NLS Document 1 Filed 06/17/19 PageID.4 Page 4 of 7




 1   disabilities.
 2     21. The barriers identified above are easily removed without much
 3   difficulty or expense. They are the types of barriers identified by the
 4   Department of Justice as presumably readily achievable to remove and, in
 5   fact, these barriers are readily achievable to remove. Moreover, there are
 6   numerous alternative accommodations that could be made to provide a greater
 7   level of access if complete removal were not achievable.
 8     22. Plaintiff will return to the Restaurant to avail himself of its goods and
 9   to determine compliance with the disability access laws once it is represented
10   to him that the Restaurant and its facilities are accessible. Plaintiff is currently
11   deterred from doing so because of his knowledge of the existing barriers and
12   his uncertainty about the existence of yet other barriers on the site. If the
13   barriers are not removed, the plaintiff will face unlawful and discriminatory
14   barriers again.
15     23. Given the obvious and blatant nature of the barriers and violations
16   alleged herein, the plaintiff alleges, on information and belief, that there are
17   other violations and barriers on the site that relate to his disability. Plaintiff
18   will amend the complaint, to provide proper notice regarding the scope of this
19   lawsuit, once he conducts a site inspection. However, please be on notice that
20   the plaintiff seeks to have all barriers related to his disability remedied. See
21   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
22   encounters one barrier at a site, he can sue to have all barriers that relate to his
23   disability removed regardless of whether he personally encountered them).
24
25   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
26   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
27   Defendants.) (42 U.S.C. section 12101, et seq.)
28     24. Plaintiff re-pleads and incorporates by reference, as if fully set forth


                                              4

     Complaint
Case 3:19-cv-01122-CAB-NLS Document 1 Filed 06/17/19 PageID.5 Page 5 of 7




 1   again herein, the allegations contained in all prior paragraphs of this
 2   complaint.
 3     25. Under the ADA, it is an act of discrimination to fail to ensure that the
 4   privileges, advantages, accommodations, facilities, goods and services of any
 5   place of public accommodation is offered on a full and equal basis by anyone
 6   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
 7   § 12182(a). Discrimination is defined, inter alia, as follows:
 8            a. A failure to make reasonable modifications in policies, practices,
 9                or procedures, when such modifications are necessary to afford
10                goods,    services,   facilities,   privileges,     advantages,   or
11                accommodations to individuals with disabilities, unless the
12                accommodation would work a fundamental alteration of those
13                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
14            b. A failure to remove architectural barriers where such removal is
15                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
16                defined by reference to the ADA Standards.
17            c. A failure to make alterations in such a manner that, to the
18                maximum extent feasible, the altered portions of the facility are
19                readily accessible to and usable by individuals with disabilities,
20                including individuals who use wheelchairs or to ensure that, to
21                the maximum extent feasible, the path of travel to the altered area
22                and the bathrooms, telephones, and drinking fountains serving the
23                altered area, are readily accessible to and usable by individuals
24                with disabilities. 42 U.S.C. § 12183(a)(2).
25     26. When a business provides facilities such as dining tables, it must
26   provide accessible dining tables in compliance with the ADA Standards.
27     27. Here, the dining table have not been provided in compliance with the
28   ADA Standards.


                                            5

     Complaint
Case 3:19-cv-01122-CAB-NLS Document 1 Filed 06/17/19 PageID.6 Page 6 of 7




 1     28. When a business provides facilities such as a restroom, it must provide
 2   an accessible restroom in compliance with the ADA Standards.
 3     29. Here, the restroom has not been provided in compliance with the ADA
 4   Standards.
 5     30. The Safe Harbor provisions of the 2010 Standards are not applicable
 6   here because the conditions challenged in this lawsuit do not comply with the
 7   1991 Standards.
 8     31. A public accommodation must maintain in operable working condition
 9   those features of its facilities and equipment that are required to be readily
10   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
11     32. Here, the failure to ensure that the accessible facilities were available
12   and ready to be used by the plaintiff is a violation of the law.
13
14   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH
15   CIVIL RIGHTS ACT (On behalf of Plaintiff and against all Defendants.)
16   (Cal. Civ. Code § 51-53.)
17     33. Plaintiff repleads and incorporates by reference, as if fully set forth
18   again herein, the allegations contained in all prior paragraphs of this
19   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
20   that persons with disabilities are entitled to full and equal accommodations,
21   advantages, facilities, privileges, or services in all business establishment of
22   every kind whatsoever within the jurisdiction of the State of California. Cal.
23   Civ. Code §51(b).
24     34. The Unruh Act provides that a violation of the ADA is a violation of
25   the Unruh Act. Cal. Civ. Code, § 51(f).
26     35. Defendants’ acts and omissions, as herein alleged, have violated the
27   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of,
28   Plaintiff’s rights to full and equal use of the accommodations, advantages,


                                            6

     Complaint
Case 3:19-cv-01122-CAB-NLS Document 1 Filed 06/17/19 PageID.7 Page 7 of 7




 1   facilities, privileges, or services offered.
 2     36. Because the violation of the Unruh Civil Rights Act resulted in
 3   difficulty, discomfort or embarrassment for the plaintiff, the defendants are
 4   also each responsible for statutory damages, i.e., a civil penalty. (Civ. Code §
 5   55.56(a)-(c).)
 6     37. Although the plaintiff was markedly frustrated by facing discriminatory
 7   barriers and this frustration possibly qualifies as an emotional distress injury,
 8   even manifesting itself with minor and fleeting physical symptoms, the
 9   plaintiff does not value this very modest frustration and physical personal
10   injury greater than the amount of the statutory damages.
11
12          PRAYER:
13          Wherefore, Plaintiff prays that this Court award damages and provide
14   relief as follows:
15       1. For injunctive relief, compelling Defendants to comply with the
16   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
17   plaintiff is not invoking section 55 of the California Civil Code and is not
18   seeking injunctive relief under the Disabled Persons Act at all.
19       2. Damages under the Unruh Civil Rights Act, which provides for actual
20   damages and a statutory minimum of $4,000 for each offense.
21       3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
22   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
23
     Dated: June 12, 2019               CENTER FOR DISABILITY ACCESS
24
25
                                        By:
26
27                                      ____________________________________
28                                             Russell Handy, Esq.
                                               Attorney for plaintiff

                                              7

     Complaint
